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Second Amended Complaint

                         Exhibit G
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                                          EARL BOYEA

                                  EPISCOPUS LANSINGENSIS
                           Divina Miseratione et Apostolicce Sedis Gratia


                         POLICY ON THE HUMAN BODY
               AS A CONSTITUTIVE ASPECT OF THE HUMAN PERSON

The Church teaches that our differences as male and female are part of God's good design in
creation, that our bodies-including our sexualitlJ-are gifts from God, and that we should accept
and care for our bodies as they were created. In fact, "'being man' or 'being woman' is a realihJ
which is good and willed by God" (Catechism of the Catholic Church, 369). A person cannot
change his or her sex. A person should accept and seek to live in conformihJ with his or her sexual
 identihJ (sometimes called "gender identihj'') as given by God. The human person is a body-soul
 union, and the body-created male or female-is a constitutive aspect of the human person.
Therefore, the Catholic Church teaches that the removal or destruction of healthy sexual and
reproductive organs is a type of mutilation and thus, intrinsically evil. Procedures, surgeries, and
 therapies designed to assist a person in "transitioning" his or her sex are morally prohibited.
 "Everyone, man and woman, should acknowledge and accept his or her God-given biological sex
and the sexual identitlJ that corresponds with that gift. Physical, moral, and spiritual difference
and complementaritlJ are oriented toward the goods of marriage and the flourishing offamily life.
 The harmony of the couple and ofsociehJ depends in part on the way in which the complementarity,
needs, and mutual support between the sexes are lived out." See Catechism of the Catholic
Church ("CCC"), 2333. "Each of the two sexes is an image of the power and tenderness of God,
with equal dignitlJ though in a different way." See CCC, 2335. Having a proper understanding of
 the human body-and more generally, of the moral law - enhances, rather than restricts, man's
freedom. As St. John Paul II stated in his encyclical Veritatis Splendor, "[T]here can be no
freedom apart from or in opposition to the truth." (Veritatis Splendor, 96.)

    1. It is the policy of the Diocese of Lansing that all Catholic parishes, schools,
       institutions, departments, entities, charities agencies, juridic persons, or other

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        affiliated entities, and any subdivision thereof, shall respect the biological sex
        of the human person as given by God and shall apply all policies and
        procedures in relation to that person according to that person's God-given
        biological sex.

    2. All clergy, employees, and volunteers shall conduct themselves in accord with
       their God-given biological sex.1

    3. Diocesan schools partner with families to educate and form students consistent
       with the teachings of our Lord Jesus Christ and His Church, and so families are
       expected to live in accord with Gospel values, particularly regarding actions and
       behaviors that are public. Students and parents (or legal guardians) shall
       conduct themselves in accord with their God-given biological sex.

        Anything to the contrary notwithstanding.

        Given at the Curia at Lansing on this, the fifteenth day of January, in the year
        of our Lord 2021.




                                                              Most Reverend Earl Boyea
                                                              Bishop of Lansing
~~
Mr. Michael Andrews
Chancellor




1This policy makes explicit what is already implicit in the Diocese of Lansing's Code of Conduct and
Employee Handbook. The Employee Handbook states: "In both personal and professional life, employees
are committed to growing in virtue and holiness and must exemplify the moral teachings of the Catholic
Church. Employees must not teach, advocate, model, or in any way encourage beliefs or behaviors that
are contrary to the dogmatic or moral teachings of the Catholic Church, which can be found in the
Catechism of the Catholic Church." Employee Handbook, Paragraph I.C., Catholic Fidelity; see also
Paragraph 1.B, Ministry. The Code of Conduct uses substantially similar language.
                                                  2
